                                                             FILED BYPage 1 of 6D.C.
Case 1:20-cv-21108-UU Document 55 Entered on FLSD Docket 06/24/2020

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  Judge Ursula Ungaro,                   -/0-cw -)-I)'lV                             CL..r--r-1.
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  June 20th#2020 - IBELIEVE IN M IRACLES- Review the attached M otion thatwasdocketed byJudge
  Ungaro and the lltbcircuit.

 Sentto:Judge E.Sulli
                    van,Judge A.Jackson,Judge M arianne 0.Battani, Judge Anthony JohnTrenga,
 Judge Liam O'Grady,Judge Claude M .Hilton,Judge TrevorN.M cFadden, Judge Rudolph Contreras,
 JudgeJohn Gleeson and Beth W ilkinson.

 YouarethejudgesinRene Boucher/senatorRandPaul,Stone,Flynn,M anning,Snowden,W inner,
 Assange,the U.S.House and the two thatIIovethe m ost- Trum p and the M edia.

  ''The horse,aswe used to say in Texas,seemsto beoutofthe barn,''Judge Royce C.Lam berth in the
  Trump v.Bolton case.

 The Narrati ve isbeing changed and Idon'tknow why.Iam notarrogantenoughto think Ihad anything
 to do w i
         th it,butnonethelessthe Narrative ischanging.

 Tim e isofthe essence ifwe are goingto have an im pactonthe PresidentialElection.

 You a11havethe ability to ensure thatwe have afairand im partialPresidentialElection.

 The Am erican People have a ConstitutionalRightto know the truth.

 You know the Dem ocracv hasfailed w hen people talkaboutvoting forthe Ieas:oftw o evils.




 Godspe d

  in erel,


 David Andrew Christenson
 Box9063
 M iramarBeach,Florida 32550
 504-715-3086
 davidandrewchristenson@gmail.com;
 dchristenson6@ hotmail.com ;
Case 1:20-cv-21108-UU Document 55 Entered on FLSD Docket 06/24/2020 Page 2 of 6
 Case 1:20-cv-21108-UU Document53 Entered on FLSD Docket06/19/2020 Page 1 Of49



   Altersv.PeoplesRepublicofChina(1:20-cv-21108)DistrictCourt, S.D.Florida Judge Ursula Ungaro
   FederalCourt-400 North M iam iAvenue -Room 12-4 -M iam i, Florida33128
   MovantDavidAndrew Christenson                                                          FILED By T6 D.c.
   June 18tb# 2020
                                                                                                JUN 19 2222
                              M otion foran Indefini
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   Judge Ungaro,

   lluaranteetbatvou willdismissthiscase.lalsoRuaranteethatthe information that1haveEiven vou
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  w
  -     illused bv vou to form ulate thatdismissal.Thiscase isunw innable and verv soon the Plaintiff's
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   Attornvvswilldiscoverthat.ltwould be prudentforthem to dism issbutthev won't.

   Please don'twaste yourtime and resourceson thiscase. I
                                                        twouldbeprudenttocontactthejudgesthatl
   have Iisted and askthem aboutm e.

  YOU ARE BEING M ANIPULATED.

  These classaction com plaintswillbe used to tamperwiththe 2020 PresidentialElection. See below.

  Review Eleventh Am icus-ANTIFA Case 1:20-cv-21108-UU Document37 Entered on FLSD Docket
  06/09/2020 Page1of7beforegoingfurther.W hatmadethispleadingso importanttootherjudgesand
  courts?Tbe attathm entsare abou:mv beinR Presidentand mv resum e.       -




  1am notpatronizing you butyou are a hero. You have no conceptofthe good thatyou have done.You
  have changed the Narrative.You may havegi ven M ankind achance atsurviving. Itisbecause ofyouthat
  ChiefJusticeW illiam H.PryorJr., (2X)Seni
                                          orludgeClaudeM.Hilton,JudgeLiam O'Grady,JudgeTerry
  Alvin Doughty,Judge Ed Kinkeade and Judge Roy K. Altman have docketed duplicate pleadingsthatwere
  writtenforyou,yourcourt,thiscase and mostimportantl   y the American People.

  Thinkabouthow am azing thisis. ChiefJustice Pryordocketed Am icusBriefs8,9,10, 11 and 14 in the
  RealityW innerappeal(W hattrulymakesthisamazingisthatthelltbcircuithasreturnedeversingle
  piece ofmailthatIsentoverthe Iast15years, untilthi  s.).SeniorJudgeHiltondocketedAmicusBriefs10
  and 11 in the Edward Snowden and Julian Assange crim inalcases. Judge Liam O'Gradydocketed Am icus
  Brief10 in the Snowden civilcase.JudgesDoughty, Kinkeadeand Altmandocketed agreatnum berof
  AmicusBri efsin classaction com plaintsagainstthe People'RepublicofChina.

  W hatm ade those Am icusBriefsso im portantto thoseJudges?Snowden, M anning and W innerwere aII
  enlisted in the United StatesM ili
                                   taryand became FederalW histleblowers. Eachofthem was
  manipulated andsowerethe mediaorganizationthatpublishedtheirdocum ents. Each ofthem isa
  hero.They arehonoringthe oath thattheytookto uphold and protecttheConstitution.
Case 1:20-cv-21108-UU Document 55 Entered on FLSD Docket 06/24/2020 Page 3 of 6
 Case 1:20-cv-21108-UU Docum ent53 Entered on FLSD Docket06/19/2020 Page 2 of49



  W ould thoseJudaeshave docketed mv pleadinasin such hixh-nrofile (NationalSecuriw )tasesifthev
  didn't have a stintillaoftrustin me?JudlesHilton,O'Gradv and Trenca (M annin, - tase closedlhave
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  aIIdoEketed mv pleadinlspreviousto them docketinathese pleadinRs.

  You honored and upheld the Constitution by docketing the pleadings.Striking the pleadingsfrom the
  record would be censorship and cause ourfellow Americansirreparable harm .Leavingthe pleadingsin
  thedocketdoesnotharm anyone.ltwillnevergettothatpointbutajurywillneverseethose
  pleadings.The pleadingswere foryou,to give youinformation.

  There are atIeast14 ClassAction Com pl
                                       aintsagainstthe People'sRepublicofChina.lsuffered the same
  damagesasa1IplaintiffsandthushaveaIegalrighttojoin.Thiscase isnodifferent.Youandyourfamily
  suffered and wilbcontinue to sufferuntilthe truth comesout.

      Iw i
         llçease to send pleadinlsw ithoutaskinaforperm ission.

  Plaintifrsattorney,M atthew Moore,actuall y argued mycase forme in hisM otion to Strike.He
  intentionallyfailedto disclosethatIwasfightingformy countryand thatmy goalw asto change the
  Narrative.Judge Sullivan inthe Flynncase gave me 17docketnumbers.Sixofthe 17 were pleadingsand
  therestwereletterssenttomultiplejudges.Therewasno intentiononmyparttohavetheIetters
  docketed butforsome reasonJudge Sullivanthoughtitwasim portantto docketthem .He putthe
  narrative in butnotmynam e eventhough he gaveaclue ashow tofigureoutwho lwas.Please askhim
  ifhe wisheshe had publicl
                          y docketed my documents.lnthe DNCv.Trum pcase JudRe Koeltldx keted
  50 pluspleadinRsofm ine.Ibelieve thatthe informati
                                                   on that1gaveto Judge Koeltlwasused by him to
  dismissthecase.Ibelievethepartiesallowedthedismissal,withnoappeal,becausethejudgedocketed
  my pleadings.

  A skPlainti
  -         ff'sAttornev,underoath,ifIam w rona.Ask him ifhecan provetodav (lune 18tb,20201that
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  w ithoutadoubtEhina isresponsibleforthe Pandem ic.M atthew M oore tan'tdo that.

                   You won'tunderstand thisbuttrustme.AIIoftheClassActionCom plaintsagainstChina have
                   severalcommonthreads.ThefirstisaRepubli
                                                         canAttorney,LarryKlayman(Googlehim),whois
                   hellbenton gettingTrump reelected.Thesecond isTrum p,These caseswillbe used toget
                   Trum preelected.THIS CASE ISFAKE NEW S.

  M r.Moore opened the doorbv referencing thesetwocasesin hisaraumentand he did so ina neaative
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  w av-
      thatim pugned m vcharacter.Ithinkitisnrudentthatvouknow whatwasinthose 17
      - --                                                                                   -


  pleadinRs/lettersbecause the case ishkh profile.Thepleadingsin the DNC v.Trum p case can befound
  onlineandPacer.Attachedarethe 17pleadingsand letters(wi    thoutattachments)thatIfiledandthat
  arelistedinthedocketfor:UnitedStatesv.Flynn(1:17-cr-00232)DistrictCourt,DistrictofColumbia
  Judge E.Sulli
              van FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001

  Judge Sullivan knew thatIwasrightbutdid notknow how to proceed with my information,askhim .

                                              Filed in the followingcases:
Case 1:20-cv-21108-UU Document 55 Entered on FLSD Docket 06/24/2020 Page 4 of 6
 Case 1:20-cv-21108-UU Document53 Entered on FLSD Docket06/19/2020 Page 3 Of49




         UnitedStatesv.Boucher(1:18-cr-00004)DistrictCourt W .D KentuckyJudgeM arianne 0.
                                                                 .

         BattaniFederalCourt-231W .Lafayette Blvd., Room 252 -Detroit, M l48226
     2. UnitedStatesv.Flynn(1:17-cr-00232)DistrictCourt,DistrictofColumbiaJudge E Sullivan
                                                                                    .

         FederalCourt-333 Constitution Ave. N.W .-W ashington D.C.20001
     3. UnîtedStatesv.Stone(1:19-cr-00018)DistrictCourt,DistrictofColumbiaJudgeA Jackson
                                                                                    .

         FederalCourt-333 Constitution Ave. N.W .-W ashingtonD.C.20001
     4. Grecov.PeoplesRepublicofChina(5:20-cv-02235)DistrictCour'
                                                                t, E.D.PennsylvaniaJudge Anita
         Blum stein Brody FederalCourt-601 M arketStreet-Philadelphia, PA 19106
         Patellav.PeoplesRepublicofChina(1:20-cv-00433-TDS-JFP)DistrictCourt, M .D.North Carolina
         Judge ThomasD.SchroederFederalCourt-251N. M ainStreet-W inston-salem , NC 27101
     6. Benitez-W hitev.PeoplesRepublicofChina(4:20-cv-01562)DistrictCourt, S.D.TexasJudge
         Ewing W erleinJr.FederalCourt-515RuskStreet-Houston, TX 77002
         StateofMississippiv.People'sRepublicofChina(1:20-cv-00168-L6-RHW )DistrictCourt, S.D.
        M ississippiJudge LouisGuirolaJr. FederalCourt-2012 15th Street-Suite 814-Gulfport, M S
        39501
        AzeleaWoodsofOuachitav.PeoplesRepublicofChina(3:20-cv-00457-TAD-KLH)DistrictCourt,
        W .D.LouisianaJudge TerryAlvin Doughty FederalCourt-201Jackson Street- Suite 215-
        M onroe,Louisiana 71201
     9. Edwardsv.PeoplesRepublicofChina(2:20-cv-01393)DistrictCourt, E.D.Lotlisiana Hon N.V,
        Jolivette Brown FederalCourt-500 PoydrasStreet-New Orl
                                                             eans, LA 70130
     10.StateofMissouriv.PeoplesRepublicofChina(1:20-cv-00099)DistrictCourt, E.D.M issouriJudge
        Stephen Limbaugh -FederalCourt-555 Independence Street- CapeGirardeau,MO 63703
     11.Altersv.PeoplesRepubli
                             cofChina(1:20-cv-21108)DistrictCourt,S.D.FloridaJudgeUrsula
        Ungaro FederalCourt-400 North M iam iAvenue -Room 12-4 -M iami, Florida 33128
     12.BellaVistaLLCv.ThePeoplesRepublicofChina(2:20-cv-00574)DistrictCourt, D.NevadaJudge
       JamesC.M ahan -FederalCourt-333 S. LasVegasBlvd-LasVegas,NV 89101
    13.BuzzPhoto v.PeoplesRepublicofChina(3:20-cv-00656)DistrictCourt, N.D.TexasJudge Ed
       Kinkeade FederalCourt-1100 CommerceSt. - Room 1625 -Dallas,Texas75242
    14.CardiffPrestigeProperty,Inc.v.PeoplesRepublicofChina(8:20-cv-00683)DistrictCourt C.D.
       CaliforniaJudge David 0.Carter-FederalCourt-411 W estFourth St. - Courtroom 9D -Santa
        Ana,C& 92701
    15.Bourque CPA s& Advisorsv. ThePeopl  esRepublicofChina(8:20-cv-00597)DistrictCourt,C.D.
       California Judge R.Gary Klausner-FederalCourt-255 EastTem ple Street- LosAngeles,CA
       9œ 12
    16.Aharonv.ChineseCommunistParty(9:20-cv-80604)DistrictCourt, S.D.FloridaJudge Roy K.
       Al
        tman FederalCourt-299 EastBroward Blvd. - FortLauderdale,FI.33301
    17.Smithv.ChineseCommunistParty(2:20-cv-01958)DistrictCourt, E.D.PennsylvaniaJudge Anita
       B.Brody FederalCourt-601M arketStreet-Philadelphia, PA 19106
    18.UnitedStatesv.Flynn(1;17-cr-00232)DistrictCourt, DistrictofColum biaJudge John Gleeson
       Debevoise & Plim pton LLP -919Third Avenue -New York, New York10022
    19.Uni
         tedStatesv.Flynn(1:17-cr-00232)Distri
                                             ctCourt,DistrictofColumbi
                                                                     aAttorneyBeth
       W ilkinson -2001M StreetN.W .-10th Floor-W ashington, D.C.20036
Case 1:20-cv-21108-UU Document 55 Entered on FLSD Docket 06/24/2020 Page 5 of 6
 Case 1:20-cv-2l108-UU Docum ent53 Entered on FLSD Docket06/19/2020 Page 4 of49



      20.UnitedStatesv.Manning(1:19-dm-00012)DistrictCourt,E.D.VirginiaJudgeAnthonyJohn
         Trenga FederalCourt-401Courthouse Square -Alexandria, VA 22314
      21.UnitedStatesv.Snowden(1:19-cv-01197)DiGtrictCourt,E.D.VirginiaJudge Liam O'Grady
         FederalCourt-401CourthouseSquare-Alexandria, VA 22314
      22.UnitedStatesv.Snowden(1:13-cr-265))DistrictCourt,E.D.VirginiaSeniorJudgeClaudeM.
         Hilton FederalCotlrt-401Courthouse Square -Alexandria, VA 22314
      23.UnitedStatesv.W inner(1:17-cr-00034)DistrictCourt,S.D.GeorgiaJudgeJamesRandalHall
         FederalCourt-600JamesBrown Blvd.-Augusta,GA 30901
      24.UnitedStatesv.Assange(1:18-cr-00111)DistrictCourt,E.D.VirginiaSeniorJudgeClaude M.
         Hilton FederalCotlrt-4olcourthouse Square-Alexandria,VA 22314
      25.Inre:M ichaelFlynn (20-5143)CourtofAppealsfortheD.C.CircuitClerkMarkLangerU.S.
         AppealsCourtD.C.-333ConstitutionAve. N.W .-W ashington D,C.20001
      26.Inre:RealityW inner(20-11692)CourtofAppealsforthelltbCircuitClerkDavidSmithAppeals
         Courtlltbcircuit-56 Forsyth St., N.W .-Atlanta,Georgia 30303
      27.CenterforDem ocracy & Technologyv. Trump(1:    20-cv-01456)DistrictCourt,Districtof
         ColumbiaJudge TrevorNeilM cFadden -FederalCourt-333ConstitutionAve. N.W .-
         W ashington D.C.20001
     28.Mccarthyv.Pelosi(1:20-cv-01395-RC)DistrictCourt,DistrictofColumbiaJudge Rudolph
         Contreras-FederalCourt-333 ConstitutionAve.N.W . W ashington D.C.20001
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  God ee

  Si ere #


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  Box9063
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  504-715-3086
  davidandrewchristenson@ gm ail.com;
  dchristenson6@ hotmail.com ;

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          Iherebycertify that J e th,20              the fore oingwith the ClerkofCourtand
               served the pl ding aIIco          ofre         -         first-classmail.


                                        David Andrew Christenson
Case 1:20-cv-21108-UU Document 55 Entered on FLSD Docket 06/24/2020 Page 6 of 6
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